Case 23-40709   Doc 323-1 Filed 09/11/24 Entered 09/11/24 07:59:35   Desc Exhibit
                        A (Property Cards) Page 1 of 15




                           Exhibit A
32              48                                  0                                                      32-48-0                                     231 TURNPIKE RD                                                               Town of Westborough                                         Card: 1 of 1       Total Card           Total Parcel
Map             Blk                                 Lot                        Parcel ID 4                 Parcel ID                                   Building Location                                                                                                              APPRAISED                      9,264,800 /           9,264,800
PROPERTY LOCATION                                                                                                                                                                                                                                                                       USE + IMP                    9,264,800 /           9,264,800
                                                                                                  IN PROCESS APPRAISAL SUMMARY
231 TURNPIKE RD                                                                                                                                                                                                                                                                        USE LAND                              0/                     0
                                                                                                      Use Code          Building Val                            Yard Items                     Land Size                     Land Val                         Total Val
WESTBOROUGH, MA 01581                                                                                                                                                                                                                                                                  ASSESSED                      9,264,800 /           9,264,800
                                                                                                        364              5,109,400                                201,900                         29.34                     3,953,500                        9,264,800
OWNERSHIP                                                                                                                                                                                                                                                                        LEGAL DESCRIPTION
WESTBOROUGH SPE LLC
C/O BABCOCK & BROWN ADMIN SVCS
TWO HARRISON ST                                                                                          Building Total                   5,109,400                201,900                         29.34                     3,953,500                       9,264,800
SAN FRANCISCO, CA 94105-0000                                                                              Parcel Total                    5,109,400                201,900                         29.34                     3,953,500                       9,264,800
                                                                                                                                                                                                                                                                                           Lot Size
                                                                                                            Source          2 - Income App                   Tot Val SF/Bld                       193.53                Tot Val SF/Prcl                         193.53
                                                                                                                                                                                                                                                                                         Total Land
                                                                                                  PREVIOUS ASSESSMENTS                                                                                                                                                               Land Unit Type
                                                                                                   Tx Yr Cat   Use                         Bld Value         Yard Items       Land Size                     Land Val           Total Appr            Assessed Notes                                       Date
                                                                                                                                                                               29.336
                                                                                                                                                                                                                                                                                                                                                                          Case 23-40709




                                                                                                   2018  FV    364                         5,109,400           201,900                                     3,953,500           9,264,800             9,264,800 CPRO billing                            12/04/2017
Occ        X                                    Type
                                                                                                   2017  FV    364                         5,109,400           201,900         29.336                      3,953,500           9,264,800             9,264,800 YEAR END                                11/28/2016                    Abstract
PREVIOUS OWNER
                                                                                                   2016   FV   364                         5,109,400           201,900         29.336                      3,953,500           9,264,800             9,264,800                                         11/17/2015
CAREY LESLIE S., TRUSTEE                                                                                                                                                                                                                                                                                                           GIS Coord 1
                                                                                                   2015   FV   364                         4,753,900           238,600         29.336                      3,757,500           8,750,000             8,750,000                                         11/19/2014
-0000
                                                                                                   2014   FV   364                         4,753,900           238,600         29.336                      3,757,500           8,750,000             8,750,000 cpro                                    11/21/2013
                                                                                                                                                                                                                                                                                                                                   GIS Coord 2
                                                                                                  SALES INFORMATION
                                                                                                  Grantor                                     Legal Ref                Type            Date                    Sale Price TSF          Verif.        NAL Notes                                                                       Insp Date
                                                                                                  CAREY LESLIE S., TRUSTEE                    19369-75                            11/21/1997                   9,151,449 No                           C
                                                                                                  LANE                                        16210-372                           04/15/1994                      375,000 No                             I                                                                     Print Date / Time
                                                                                                                                                                                                                                                                                                                            8/29/2024      10:16 am
NARRATIVE DESCRIPTION                                                                             BUILDING PERMITS                                                                                                                                   ACTIVITIES                                Last Date / Time
This parcel contains 392,040 SF of land mainly classified as                                          Date    Number                        Desc              Amount       Closed          Status          Fed. ID     Notes              Last Visit      Date       Result By                 2/5/21 4:28 pm
THEATER with a THEATER building built about 1997, having                                           11/27/2017 CG-2017-00177              DEMOLITION                0                         O                         DEMOLISH SIGN LETTERS, CINEMA GOING
                                                                                                                                                                                                                                                      12/12/2012
                                                                                                                                                                                                                                                              OUT OF BUSINESS
                                                                                                                                                                                                                                                                       2     JON
                                                                                                                                                                                                                                                                              IN TOWN
                                                                                                                                                                                                                                                                                  STEINBER            apro
primarily BRICK VENR Exterior and 47,872 Square Feet, with 1                                       11/07/2017 CG-2017-00168              DEMOLITION                0                         O                                                                                                USER DEFINED
                                                                                                                                                                                                                       REMOVAL OF ALL TRADE FIXTURES INCLUDING SEATING, SCREENS AND PROJECTORS.
Commercial Unit, 6 Half Baths.                                                                          03/21/2013     134-2013            MANUAL             119,800                         C                        REPAIR 2 EGRESSES                                                         Pasco Nbhd
                                                                                                                                                                                                                                                                                                    32/2B
                                                                                                        10/21/2003     470/2003             SIGN               10,000 05/13/2004              C                                          02/13/2004                                               Prior Nbhd
PROPERTY FACTORS                                                                                        07/21/1995     314/95              MANUAL           2,880,000 05/17/2000              C                        CINEMA
      Item             %                                                                                                                                                                                                                                                                            LOT 1
             Code
                          INCOME APPROACH                                                                                                                                                                                                                                                          GIS CA
     Dis 1 D
                           Bld Alt Type - Desc                L. Area / # Units       Rent/Unit          Gross Inc                                             Vacancy     %              Expenses         Type        %        Reserves        NOI   Aft Net C. Rate C. Adj    GRM/Inc Val
     Dis 2                   1 THE - THEATRE                                  47,872        19.24         921,057                                               46,053     5                87,500                     10              0                         8.5                9,264,800     PriorID1b
     Dis 3
   Zone 1 BUS         100
                                                                                                                                                                                                                                                                                                                                   Comm.Distr.
   Zone 2
   Zone 3                                                                                                                                                                                                                                                                                                                            Apt.Units
     Util 1
     Util 2
                                                                                                                                                                                                                                                                                                                                                         A (Property Cards) Page 2 of 15




                                                                                                                                                                                                                                                                                                                                    Web Image
     Util 3
   Census
    F. Haz                                                                                                                                                                                                                                                                                                                           PriorID2c
     Topo                                    Building Totals                  47,872                      921,057                                               46,053                        87,500                                        0                                                                   9,264,800
    Street                                                                                                                                                                                                                                                                                                                           PriorID3c
                             Othr Inc                  0 Rate Adj               Vac Adj         0.05 Exp Adj                                                 0.10     Surp                        0         Deduc                0           C/I Ratio                    0.98    Val/SF                           193.53                L1
    Traffic
    Exmpt                                      Parcel Totals                  47,872                      921,057                                               46,053                        87,500                                        0                                                                   9,264,800          Assessor Map
        HX                   Othr Inc                  0 Rate Adj               Vac Adj         0.05 Exp Adj                                                 0.10     Surp                        0         Deduc                0           C/I Ratio                    0.98    Val/SF                           193.53
                                                                                                                                                                                                                                                                                                                                                 Doc 323-1 Filed 09/11/24 Entered 09/11/24 07:59:35




LAND SECTION (364)
 LUC LUC Desc     Alt %   Ft.            # Units    Depth    U. Type      L. Type     Ft.   Base V. Unit Prc                                               Adj Prc   NBC         Ft.       Mod.     Inf 1         %    Inf 2 % Inf 3 %                  Appr Alt 2 LUC           %         Spec L.V. Juris       L. Ft.      Assessed Notes
 364 THEATER               1           392,040                 SF          SITE        1            09.5                                                       9.5    CV         1                                                                  3,724,380                                      0               1         3,724,400
 364 THEATER               1             20.336                AC        EXCESS        1            030,000                                                30,000     CV         1                     S       -50                                    229,125                                      0               1           229,100
                                                                                                                                                                                                                                                                                                                                                                          Desc Exhibit




                        Total AC/HA                               29.34                  Total SF/SM                 1,277,876.13          Parcel LUC 364 - THEATER                                    P. NBC Desc COMM VG                Tot       3,953,505                    Tot               0                Tot      3,953,500
Disclaimer: This Information is believed to be correct but is subject to change and is not guaranteed                                                                                                                                     Property: 3883 | Bld: 5425 | Seq: 1 | Year: 2018 | Data As Of Date: 08/29/2024 | User: jons | DB: Assess50
Parcel ID 32-48-0                                                                                                  Comments                                                                                  Sketch
Exterior Information                                    Condo Information                                           486-1997 5-97 STEEL + EXT WA
     Type         81 - THEATER                              Location
   Stry Hght      2                                        Tot Units
  (Liv) Units     0          Tot 1
                                                               Floor
    Found         1 - CONCRETE
                                                              % Own
    Frame         2 - STEEL
                                                              Name
    P. Wall       8 - BRICK VENR
   Sec Wall       21 - CONC BLOC 50                     Bath Features                                           Res Breakdown                                                  Remodeling
   Roof Str       4 - FLAT                                 Full Bath         0       Rtng                             Floor          No. Unit          Rooms     Bdrms          Exterior
   Roof Cvr       4 - TAR+GRAVEL                           Add Full          0       Rtng                                                                                       Interior
     Color                                                 3/4 Bath          0       Rtng                                                                                        Add.
     View                                                                                                                                                                       Kitchen
                                                           Add. 3/4          0       Rtng
    Shape                                                                                                                                                                        Bath
                                                                                                                                                                                                                                                                                                                                                                           Case 23-40709




                                                           1/2 Bath          6       Rtng A - AVERAGE
  Bld Name                                                                                                                                                                      Plumb
                                                           Add. 1/2          0       Rtng                           Bld Total                                                   Electric
General Information                                        Other Fix         0       Rtng                           Prcl Total                                                  Heating
   Grade          CA - COMM V GOOD
                                                                                                                                                                                General
  Year Blt        1997      Eff Yr                      Other Features                                          Calc Ladder
  Alt LUC                                                   Kitchens          2      Rtng A - AVERAGE                 Base Rate                  85.00                Depr                  802,329
   Juris                                                      Add Kit.        0      Rtng                              Size Adj                 0.82507          Depr'd Total              4,928,595
  Con Mod                                                  Fireplaces         0      Rtng                              Con Adj                  0.99960            Juris Ft.                 1.0000
                                                           WS Flues           0      Rtng                              Adj Prc                  $70.10          Spec. Features                   $0
Interior Information
   Avg Ht / Fl                                                                                                        Grade Ft.                 1.65200           Lump Sum
                                                       Depreciation
   P. Int Wall       1 - DRYWALL                           Phys Con GD - Good                            14           Other Feat             $151,330             Final Total              $4,928,600
  Sec Int Wall                                             Functional                                                 NBH Mod                   1.0000           Override Val
   Partition   T - TYPICAL                                 Economic                                                    NBC Infl                 1.0000            Assmnt Ft.
     P. Floor        4 - CARPET                             Special                                                    LUC Ft.                  1.0000           Assessed Val              $4,928,600
    Sec Floor                                              Override                                                  Adj Tot (RCN)           5,730,924            Total $/SF                $102.95          Mobile Home
   Bmt Floors                                                                                 Total 14%                Depr %                    14%             Undepr $/SF               115.80520          Make                         Model                        Serial                        Year                        Color
   Sub Floors
                                                       Comparable Sales                                                                          Sub Areas                                                                                                                              Alt Areas
  Bmt Garage 0
                                                          Rtng           Parcel ID      Type                  Sale Date           Price            Code Desc                          Net Area             Gross A.     F. Area          Sz Adj A.      Rate AV         Undepr Val      S. Area       Alt Type     % Alt     Tenants       Qual                    %U
     Electric        3 - TYPICAL
                                                                                                                                                   FFL 1ST FLOOR                       47,872               47,872      47,872             47,872         70.10          3,355,827
    Insulation       2 - TYPICAL
                                                                                                                                                   CNP       CANOPY                         1,050            1,050             0                0          20.50             21,525
    Int Vs Ext       S
    Heat Fuel        2 - GAS
      Heat           1 - FORCED H/A
   # Heat Sys        1
                                                                                                                                                                                                                                                                                                                                                          A (Property Cards) Page 3 of 15




    Heated %         100          AC %        100
    Sol HW %                   Ctrl Vac %
   Com Wall %                   Sprink %      100             Avg Rtng                                   Ind Val                                                 Building Totals           48,922           48,922      47,872             47,872                         3,377,352
                                                                                                                                                                  Parcel Totals            48,922           48,922      47,872             47,872                         3,377,352
Special Features / Yard Items
  Code Desc                               A Y/S         Qty                  Size                 Qual        Con       Year              Unit Prc D/S         Depr %           LUC         Ft.        NBC       Ft.   Juris       Ft.               Appr Val           Assessed Image
                                                                                                                                                                                                                                                                                                                                                  Doc 323-1 Filed 09/11/24 Entered 09/11/24 07:59:35




   66 CANOPY                              A Y            1               50.00x12.00               G          GD        1997                25.63 T             45%             101         1           RV        1                1                   8,500               8,500
    85      PAVING                        D      Y        1               169020.00                 G          GD         1998                  1.88     T      45%             101          1        RV          1                1                  174,300             174,300
    77      LITE-SIN                      D      Y        6                  1.00                   G          GD         1998             937.50        T      45%             101          1        RV          1                1                    3,100               3,100
    84      SIGN-ILU                      D      Y        1                 184.00                  G          GD         1998              47.50        T      45%             101          1        RV          1                1                    4,800               4,800
    87      FENCE-4                       D      Y        1                 390.00                  G          GD         1998                  8.75     T      45%             101          1        RV          1                1                    1,900               1,900
    78      LITE-DBL                      D      Y        9                  1.00                   G          GD         1997            1,875.00       T      45%             101          1        RV          1                1                    9,300               9,300
                                                                                                                                                                                                                                                                                                                                                                           Desc Exhibit




                    Building Totals                                         Yard Item Appr                                                201,900                        Special Feature Appr                                                         201,900             201,900
                      Parcel Totals                                         Yard Item Appr                                                201,900                        Special Feature Appr                                                         201,900             201,900
Disclaimer: This Information is believed to be correct but is subject to change and is not guaranteed                                                                                                                                              Property: 3883 | Bld: 5425 | Seq: 1 | Year: 2018 | Data As Of Date: 08/29/2024 | User: jons | DB: Assess50
32              48                                  0                                                      32-48-0                                       231 TURNPIKE RD                                                                Town of Westborough                                         Card: 1 of 1       Total Card           Total Parcel
Map             Blk                                 Lot                        Parcel ID 4                 Parcel ID                                     Building Location                                                                                                               APPRAISED                      5,239,100 /           5,239,100
PROPERTY LOCATION                                                                                                                                                                                                                                                                          USE + IMP                    5,239,100 /           5,239,100
                                                                                                  IN PROCESS APPRAISAL SUMMARY
231 TURNPIKE RD                                                                                                                                                                                                                                                                           USE LAND                              0/                     0
                                                                                                      Use Code          Building Val                              Yard Items                      Land Size                     Land Val                         Total Val
WESTBOROUGH, MA 01581                                                                                                                                                                                                                                                                     ASSESSED                      5,239,100 /           5,239,100
                                                                                                        364                 887,700                                 201,900                          29.34                     4,149,500                        5,239,100
OWNERSHIP                                                                                                                                                                                                                                                                           LEGAL DESCRIPTION
WESTBOROUGH SPE LLC
C/O BABCOCK & BROWN ADMIN SVCS
TWO HARRISON ST                                                                                          Building Total                      887,700                 201,900                          29.34                     4,149,500                       5,239,100
SAN FRANCISCO, CA 94105-0000                                                                              Parcel Total                       887,700                 201,900                          29.34                     4,149,500                       5,239,100
                                                                                                                                                                                                                                                                                              Lot Size
                                                                                                            Source          2 - Income App                     Tot Val SF/Bld                        109.44                Tot Val SF/Prcl                         109.44
                                                                                                                                                                                                                                                                                            Total Land
                                                                                                  PREVIOUS ASSESSMENTS                                                                                                                                                                  Land Unit Type
                                                                                                   Tx Yr Cat   Use                           Bld Value         Yard Items       Land Size                      Land Val           Total Appr            Assessed Notes                                       Date
                                                                                                                                                                                 29.336
                                                                                                                                                                                                                                                                                                                                                                             Case 23-40709




                                                                                                   2019  FV    364                             887,700           201,900                                      4,149,500           5,239,100             5,239,100 CPRO BILLING                            12/04/2018
Occ        X                                    Type
                                                                                                   2018  FV    364                           5,109,400           201,900          29.336                      3,953,500           9,264,800             9,264,800 CPRO billing                            12/04/2017                    Abstract
PREVIOUS OWNER
                                                                                                   2017   FV   364                           5,109,400           201,900          29.336                      3,953,500           9,264,800             9,264,800 YEAR END                                11/28/2016
CAREY LESLIE S., TRUSTEE                                                                                                                                                                                                                                                                                                              GIS Coord 1
                                                                                                   2016   FV   364                           5,109,400           201,900          29.336                      3,953,500           9,264,800             9,264,800                                         11/17/2015
-0000
                                                                                                   2015   FV   364                           4,753,900           238,600          29.336                      3,757,500           8,750,000             8,750,000                                         11/19/2014
                                                                                                                                                                                                                                                                                                                                      GIS Coord 2
                                                                                                  SALES INFORMATION
                                                                                                  Grantor                                       Legal Ref               Type              Date                    Sale Price TSF          Verif.        NAL Notes                                                                       Insp Date
                                                                                                  CAREY LESLIE S., TRUSTEE                      19369-75                            11/21/1997                    9,151,449 No                           C
                                                                                                  LANE                                          16210-372                           04/15/1994                       375,000 No                             I                                                                     Print Date / Time
                                                                                                                                                                                                                                                                                                                               8/29/2024      10:15 am
NARRATIVE DESCRIPTION                                                                             BUILDING PERMITS                                                                                                                                      ACTIVITIES                                Last Date / Time
This parcel contains 392,040 SF of land mainly classified as                                          Date    Number                        Desc                Amount   Closed              Status           Fed. ID     Notes              Last Visit      Date       Result By                 2/5/21 4:28 pm
THEATER with a THEATER building built about 1997, having                                           11/27/2017 CG-2017-00177              DEMOLITION                  0 02/08/2018              C                          DEMOLISH SIGN LETTERS, CINEMA GOING
                                                                                                                                                                                                                                                         12/12/2012
                                                                                                                                                                                                                                                                 OUT OF BUSINESS
                                                                                                                                                                                                                                                                          2     JON
                                                                                                                                                                                                                                                                                 IN TOWN
                                                                                                                                                                                                                                                                                     STEINBER            apro
primarily BRICK VENR Exterior and 47,872 Square Feet, with 1                                       11/07/2017 CG-2017-00168              DEMOLITION                  0 02/08/2018              C                                                                                                 USER DEFINED
                                                                                                                                                                                                                          REMOVAL OF ALL TRADE FIXTURES INCLUDING SEATING, SCREENS AND PROJECTORS.
Commercial Unit, 6 Half Baths.                                                                          03/21/2013     134-2013              MANUAL             119,800                          C                        REPAIR 2 EGRESSES                                                         Pasco Nbhd
                                                                                                                                                                                                                                                                                                       32/2B
                                                                                                        10/21/2003     470/2003               SIGN               10,000 05/13/2004               C                                          02/13/2004                                               Prior Nbhd
PROPERTY FACTORS                                                                                        07/21/1995     314/95                MANUAL           2,880,000 05/17/2000               C                        CINEMA
      Item             %                                                                                                                                                                                                                                                                               LOT 1
             Code
                          INCOME APPROACH                                                                                                                                                                                                                                                             GIS CA
     Dis 1 D
                           Bld Alt Type - Desc                L. Area / # Units       Rent/Unit          Gross Inc                                               Vacancy     %              Expenses          Type        %        Reserves        NOI   Aft Net C. Rate C. Adj    GRM/Inc Val
     Dis 2                   1 THE - THEATRE                                  47,872        11.40         545,741                                                109,148     20               43,659                      10              0                         7.5                5,239,100     PriorID1b
     Dis 3
   Zone 1 BUS         100
                                                                                                                                                                                                                                                                                                                                      Comm.Distr.
   Zone 2
   Zone 3                                                                                                                                                                                                                                                                                                                               Apt.Units
     Util 1
     Util 2
                                                                                                                                                                                                                                                                                                                                                            A (Property Cards) Page 4 of 15




                                                                                                                                                                                                                                                                                                                                       Web Image
     Util 3
   Census
    F. Haz                                                                                                                                                                                                                                                                                                                              PriorID2c
     Topo                                    Building Totals                  47,872                      545,741                                                109,148                         43,659                                        0                                                                   5,239,100
    Street                                                                                                                                                                                                                                                                                                                              PriorID3c
                             Othr Inc                  0 Rate Adj               Vac Adj         0.20 Exp Adj                                                   0.08     Surp                         0         Deduc                0           C/I Ratio                    1.05    Val/SF                           109.44                L1
    Traffic
    Exmpt                                      Parcel Totals                  47,872                      545,741                                                109,148                         43,659                                        0                                                                   5,239,100          Assessor Map
        HX                   Othr Inc                  0 Rate Adj               Vac Adj         0.20 Exp Adj                                                   0.08     Surp                         0         Deduc                0           C/I Ratio                    1.05    Val/SF                           109.44
                                                                                                                                                                                                                                                                                                                                                    Doc 323-1 Filed 09/11/24 Entered 09/11/24 07:59:35




LAND SECTION (364)
 LUC LUC Desc     Alt %   Ft.            # Units    Depth    U. Type      L. Type     Ft.   Base V. Unit Prc                                                 Adj Prc   NBC          Ft.      Mod.     Inf 1          %    Inf 2 % Inf 3 %                  Appr Alt 2 LUC           %         Spec L.V. Juris       L. Ft.      Assessed Notes
 364 THEATER               1           392,040                 SF          SITE        1            010                                                           10    CV          1                                                                  3,920,400                                      0               1         3,920,400
 364 THEATER               1             20.336                AC        EXCESS        1            030,000                                                  30,000     CV          1                     S       -50                                    229,125                                      0               1           229,100
                                                                                                                                                                                                                                                                                                                                                                             Desc Exhibit




                        Total AC/HA                               29.34                  Total SF/SM                 1,277,876.13            Parcel LUC 364 - THEATER                                     P. NBC Desc COMM VG                Tot       4,149,525                    Tot               0                Tot      4,149,500
Disclaimer: This Information is believed to be correct but is subject to change and is not guaranteed                                                                                                                                        Property: 3883 | Bld: 5425 | Seq: 1 | Year: 2019 | Data As Of Date: 08/29/2024 | User: jons | DB: Assess50
Parcel ID 32-48-0                                                                                                  Comments                                                                                  Sketch
Exterior Information                                    Condo Information                                           486-1997 5-97 STEEL + EXT WA
     Type         81 - THEATER                              Location
   Stry Hght      2                                        Tot Units
  (Liv) Units     0          Tot 1
                                                               Floor
    Found         1 - CONCRETE
                                                              % Own
    Frame         2 - STEEL
                                                              Name
    P. Wall       8 - BRICK VENR
   Sec Wall       21 - CONC BLOC 50                     Bath Features                                           Res Breakdown                                                  Remodeling
   Roof Str       4 - FLAT                                 Full Bath         0       Rtng                             Floor          No. Unit          Rooms     Bdrms          Exterior
   Roof Cvr       4 - TAR+GRAVEL                           Add Full          0       Rtng                                                                                       Interior
     Color                                                 3/4 Bath          0       Rtng                                                                                        Add.
     View                                                                                                                                                                       Kitchen
                                                           Add. 3/4          0       Rtng
    Shape                                                                                                                                                                        Bath
                                                                                                                                                                                                                                                                                                                                                                           Case 23-40709




                                                           1/2 Bath          6       Rtng A - AVERAGE
  Bld Name                                                                                                                                                                      Plumb
                                                           Add. 1/2          0       Rtng                           Bld Total                                                   Electric
General Information                                        Other Fix         0       Rtng                           Prcl Total                                                  Heating
   Grade          CA - COMM V GOOD
                                                                                                                                                                                General
  Year Blt        1997      Eff Yr                      Other Features                                          Calc Ladder
  Alt LUC                                                   Kitchens          2      Rtng A - AVERAGE                 Base Rate                  85.00                Depr                 4,556,085
   Juris                                                      Add Kit.        0      Rtng                              Size Adj                 0.82507          Depr'd Total              1,174,839
  Con Mod                                                  Fireplaces         0      Rtng                              Con Adj                  0.99960            Juris Ft.                 1.0000
                                                           WS Flues           0      Rtng                              Adj Prc                  $70.10          Spec. Features                   $0
Interior Information
   Avg Ht / Fl                                                                                                        Grade Ft.                 1.65200           Lump Sum
                                                       Depreciation
   P. Int Wall       1 - DRYWALL                           Phys Con GD - Good                            18           Other Feat             $151,330             Final Total              $1,174,800
  Sec Int Wall                                             Functional                                                 NBH Mod                   1.0000           Override Val
   Partition   T - TYPICAL                                 Economic D - DEMAND                           75            NBC Infl                 1.0000            Assmnt Ft.
     P. Floor        4 - CARPET                             Special                                                    LUC Ft.                  1.0000           Assessed Val              $1,174,800
    Sec Floor                                              Override                                                  Adj Tot (RCN)           5,730,924            Total $/SF                $24.54           Mobile Home
   Bmt Floors                                                                                 Total 79.5%              Depr %                   79.5%            Undepr $/SF               115.80520          Make                         Model                        Serial                        Year                        Color
   Sub Floors
                                                       Comparable Sales                                                                          Sub Areas                                                                                                                              Alt Areas
  Bmt Garage 0
                                                          Rtng           Parcel ID      Type                  Sale Date           Price            Code Desc                          Net Area             Gross A.     F. Area          Sz Adj A.      Rate AV         Undepr Val      S. Area       Alt Type     % Alt     Tenants       Qual                    %U
     Electric        3 - TYPICAL
                                                                                                                                                   FFL 1ST FLOOR                       47,872               47,872      47,872             47,872         70.10          3,355,827
    Insulation       2 - TYPICAL
                                                                                                                                                   CNP       CANOPY                         1,050            1,050             0                0          20.50             21,525
    Int Vs Ext       S
    Heat Fuel        2 - GAS
      Heat           1 - FORCED H/A
   # Heat Sys        1
                                                                                                                                                                                                                                                                                                                                                          A (Property Cards) Page 5 of 15




    Heated %         100          AC %        100
    Sol HW %                   Ctrl Vac %
   Com Wall %                   Sprink %      100             Avg Rtng                                   Ind Val                                                 Building Totals           48,922           48,922      47,872             47,872                         3,377,352
                                                                                                                                                                  Parcel Totals            48,922           48,922      47,872             47,872                         3,377,352
Special Features / Yard Items
  Code Desc                               A Y/S         Qty                  Size                 Qual        Con       Year              Unit Prc D/S         Depr %           LUC         Ft.        NBC       Ft.   Juris       Ft.               Appr Val           Assessed Image
                                                                                                                                                                                                                                                                                                                                                  Doc 323-1 Filed 09/11/24 Entered 09/11/24 07:59:35




   66 CANOPY                              A Y            1               50.00x12.00               G          GD        1997                25.63 T             45%             101         1           RV        1                1                   8,500               8,500
    85      PAVING                        D      Y        1               169020.00                 G          GD         1998                  1.88     T      45%             101          1        RV          1                1                  174,300             174,300
    77      LITE-SIN                      D      Y        6                  1.00                   G          GD         1998             937.50        T      45%             101          1        RV          1                1                    3,100               3,100
    84      SIGN-ILU                      D      Y        1                 184.00                  G          GD         1998              47.50        T      45%             101          1        RV          1                1                    4,800               4,800
    87      FENCE-4                       D      Y        1                 390.00                  G          GD         1998                  8.75     T      45%             101          1        RV          1                1                    1,900               1,900
    78      LITE-DBL                      D      Y        9                  1.00                   G          GD         1997            1,875.00       T      45%             101          1        RV          1                1                    9,300               9,300
                                                                                                                                                                                                                                                                                                                                                                           Desc Exhibit




                    Building Totals                                         Yard Item Appr                                                201,900                        Special Feature Appr                                                         201,900             201,900
                      Parcel Totals                                         Yard Item Appr                                                201,900                        Special Feature Appr                                                         201,900             201,900
Disclaimer: This Information is believed to be correct but is subject to change and is not guaranteed                                                                                                                                              Property: 3883 | Bld: 5425 | Seq: 1 | Year: 2019 | Data As Of Date: 08/29/2024 | User: jons | DB: Assess50
32              48                                  0                                                      32-48-0                                       231 TURNPIKE RD                                                                Town of Westborough                                         Card: 1 of 1       Total Card           Total Parcel
Map             Blk                                 Lot                        Parcel ID 4                 Parcel ID                                     Building Location                                                                                                               APPRAISED                      5,239,100 /           5,239,100
PROPERTY LOCATION                                                                                                                                                                                                                                                                          USE + IMP                    5,239,100 /           5,239,100
                                                                                                  IN PROCESS APPRAISAL SUMMARY
231 TURNPIKE RD                                                                                                                                                                                                                                                                           USE LAND                              0/                     0
                                                                                                      Use Code          Building Val                              Yard Items                      Land Size                     Land Val                         Total Val
WESTBOROUGH, MA 01581                                                                                                                                                                                                                                                                     ASSESSED                      5,239,100 /           5,239,100
                                                                                                        364                 887,700                                 201,900                          29.34                     4,149,500                        5,239,100
OWNERSHIP                                                                                                                                                                                                                                                                           LEGAL DESCRIPTION
WESTBOROUGH SPE LLC
C/O BABCOCK & BROWN ADMIN SVCS
TWO HARRISON ST                                                                                          Building Total                      887,700                 201,900                          29.34                     4,149,500                       5,239,100
SAN FRANCISCO, CA 94105-0000                                                                              Parcel Total                       887,700                 201,900                          29.34                     4,149,500                       5,239,100
                                                                                                                                                                                                                                                                                              Lot Size
                                                                                                            Source          2 - Income App                     Tot Val SF/Bld                        109.44                Tot Val SF/Prcl                         109.44
                                                                                                                                                                                                                                                                                            Total Land
                                                                                                  PREVIOUS ASSESSMENTS                                                                                                                                                                  Land Unit Type
                                                                                                   Tx Yr Cat   Use                           Bld Value         Yard Items       Land Size                      Land Val           Total Appr            Assessed Notes                                       Date
                                                                                                                                                                                 29.336
                                                                                                                                                                                                                                                                                                                                                                             Case 23-40709




                                                                                                   2020  FV    364                             887,700           201,900                                      4,149,500           5,239,100             5,239,100 YEAR END ROLL                           12/05/2019
Occ        X                                    Type
                                                                                                   2019  FV    364                             887,700           201,900          29.336                      4,149,500           5,239,100             5,239,100 CPRO BILLING                            12/04/2018                    Abstract
PREVIOUS OWNER
                                                                                                   2018   FV   364                           5,109,400           201,900          29.336                      3,953,500           9,264,800             9,264,800 CPRO billing                            12/04/2017
CAREY LESLIE S., TRUSTEE                                                                                                                                                                                                                                                                                                              GIS Coord 1
                                                                                                   2017   FV   364                           5,109,400           201,900          29.336                      3,953,500           9,264,800             9,264,800 YEAR END                                11/28/2016
-0000
                                                                                                   2016   FV   364                           5,109,400           201,900          29.336                      3,953,500           9,264,800             9,264,800                                         11/17/2015
                                                                                                                                                                                                                                                                                                                                      GIS Coord 2
                                                                                                  SALES INFORMATION
                                                                                                  Grantor                                       Legal Ref               Type              Date                    Sale Price TSF          Verif.        NAL Notes                                                                       Insp Date
                                                                                                  CAREY LESLIE S., TRUSTEE                      19369-75                            11/21/1997                    9,151,449 No                           C
                                                                                                  LANE                                          16210-372                           04/15/1994                       375,000 No                             I                                                                     Print Date / Time
                                                                                                                                                                                                                                                                                                                               8/29/2024      10:13 am
NARRATIVE DESCRIPTION                                                                             BUILDING PERMITS                                                                                                                                      ACTIVITIES                                Last Date / Time
This parcel contains 392,040 SF of land mainly classified as                                          Date    Number                        Desc                Amount   Closed              Status           Fed. ID     Notes              Last Visit      Date       Result By                 2/5/21 4:28 pm
THEATER with a THEATER building built about 1997, having                                           11/27/2017 CG-2017-00177              DEMOLITION                  0 02/08/2018              C                          DEMOLISH SIGN LETTERS, CINEMA GOING
                                                                                                                                                                                                                                                         12/12/2012
                                                                                                                                                                                                                                                                 OUT OF BUSINESS
                                                                                                                                                                                                                                                                          2     JON
                                                                                                                                                                                                                                                                                 IN TOWN
                                                                                                                                                                                                                                                                                     STEINBER            apro
primarily BRICK VENR Exterior and 47,872 Square Feet, with 1                                       11/07/2017 CG-2017-00168              DEMOLITION                  0 02/08/2018              C                                                                                                 USER DEFINED
                                                                                                                                                                                                                          REMOVAL OF ALL TRADE FIXTURES INCLUDING SEATING, SCREENS AND PROJECTORS.
Commercial Unit, 6 Half Baths.                                                                          03/21/2013     134-2013              MANUAL             119,800                          C                        REPAIR 2 EGRESSES                                                         Pasco Nbhd
                                                                                                                                                                                                                                                                                                       32/2B
                                                                                                        10/21/2003     470/2003               SIGN               10,000 05/13/2004               C                                          02/13/2004                                               Prior Nbhd
PROPERTY FACTORS                                                                                        07/21/1995     314/95                MANUAL           2,880,000 05/17/2000               C                        CINEMA
      Item             %                                                                                                                                                                                                                                                                               LOT 1
             Code
                          INCOME APPROACH                                                                                                                                                                                                                                                             GIS CA
     Dis 1 D
                           Bld Alt Type - Desc                L. Area / # Units       Rent/Unit          Gross Inc                                               Vacancy     %              Expenses          Type        %        Reserves        NOI   Aft Net C. Rate C. Adj    GRM/Inc Val
     Dis 2                   1 THE - THEATRE                                  47,872        11.40         545,741                                                109,148     20               43,659                      10              0                         7.5                5,239,100     PriorID1b
     Dis 3
   Zone 1 BA          100
                                                                                                                                                                                                                                                                                                                                      Comm.Distr.
   Zone 2
   Zone 3                                                                                                                                                                                                                                                                                                                               Apt.Units
     Util 1
     Util 2
                                                                                                                                                                                                                                                                                                                                                            A (Property Cards) Page 6 of 15




                                                                                                                                                                                                                                                                                                                                       Web Image
     Util 3
   Census
    F. Haz                                                                                                                                                                                                                                                                                                                              PriorID2c
     Topo                                    Building Totals                  47,872                      545,741                                                109,148                         43,659                                        0                                                                   5,239,100
    Street                                                                                                                                                                                                                                                                                                                              PriorID3c
                             Othr Inc                  0 Rate Adj               Vac Adj         0.20 Exp Adj                                                   0.08     Surp                         0         Deduc                0           C/I Ratio                    1.05    Val/SF                           109.44                L1
    Traffic
    Exmpt                                      Parcel Totals                  47,872                      545,741                                                109,148                         43,659                                        0                                                                   5,239,100          Assessor Map
        HX                   Othr Inc                  0 Rate Adj               Vac Adj         0.20 Exp Adj                                                   0.08     Surp                         0         Deduc                0           C/I Ratio                    1.05    Val/SF                           109.44
                                                                                                                                                                                                                                                                                                                                                    Doc 323-1 Filed 09/11/24 Entered 09/11/24 07:59:35




LAND SECTION (364)
 LUC LUC Desc     Alt %   Ft.            # Units    Depth    U. Type      L. Type     Ft.   Base V. Unit Prc                                                 Adj Prc   NBC          Ft.      Mod.     Inf 1          %    Inf 2 % Inf 3 %                  Appr Alt 2 LUC           %         Spec L.V. Juris       L. Ft.      Assessed Notes
 364 THEATER               1           392,040                 SF          SITE        1            010                                                           10    CV          1                                                                  3,920,400                                      0               1         3,920,400
 364 THEATER               1             20.336                AC        EXCESS        1            030,000                                                  30,000     CV          1                     S       -50                                    229,125                                      0               1           229,100
                                                                                                                                                                                                                                                                                                                                                                             Desc Exhibit




                        Total AC/HA                               29.34                  Total SF/SM                 1,277,876.13            Parcel LUC 364 - THEATER                                     P. NBC Desc COMM VG                Tot       4,149,525                    Tot               0                Tot      4,149,500
Disclaimer: This Information is believed to be correct but is subject to change and is not guaranteed                                                                                                                                        Property: 3883 | Bld: 5425 | Seq: 1 | Year: 2020 | Data As Of Date: 08/29/2024 | User: jons | DB: Assess50
Parcel ID 32-48-0                                                                                                  Comments                                                                                  Sketch
Exterior Information                                    Condo Information                                           486-1997 5-97 STEEL + EXT WA
     Type         81 - THEATER                              Location
   Stry Hght      2                                        Tot Units
  (Liv) Units     0          Tot 1
                                                               Floor
    Found         1 - CONCRETE
                                                              % Own
    Frame         2 - STEEL
                                                              Name
    P. Wall       8 - BRICK VENR
   Sec Wall       21 - CONC BLOC 50                     Bath Features                                           Res Breakdown                                                  Remodeling
   Roof Str       4 - FLAT                                 Full Bath         0       Rtng                             Floor          No. Unit          Rooms     Bdrms          Exterior
   Roof Cvr       4 - TAR+GRAVEL                           Add Full          0       Rtng                                                                                       Interior
     Color                                                 3/4 Bath          0       Rtng                                                                                        Add.
     View                                                                                                                                                                       Kitchen
                                                           Add. 3/4          0       Rtng
    Shape                                                                                                                                                                        Bath
                                                                                                                                                                                                                                                                                                                                                                           Case 23-40709




                                                           1/2 Bath          6       Rtng A - AVERAGE
  Bld Name                                                                                                                                                                      Plumb
                                                           Add. 1/2          0       Rtng                           Bld Total                                                   Electric
General Information                                        Other Fix         0       Rtng                           Prcl Total                                                  Heating
   Grade          CA - COMM V GOOD
                                                                                                                                                                                General
  Year Blt        1997      Eff Yr                      Other Features                                          Calc Ladder
  Alt LUC                                                   Kitchens          2      Rtng A - AVERAGE                 Base Rate                  85.00                Depr                 4,556,085
   Juris                                                      Add Kit.        0      Rtng                              Size Adj                 0.82507          Depr'd Total              1,174,839
  Con Mod                                                  Fireplaces         0      Rtng                              Con Adj                  0.99960            Juris Ft.                 1.0000
                                                           WS Flues           0      Rtng                              Adj Prc                  $70.10          Spec. Features                   $0
Interior Information
   Avg Ht / Fl                                                                                                        Grade Ft.                 1.65200           Lump Sum
                                                       Depreciation
   P. Int Wall       1 - DRYWALL                           Phys Con GD - Good                            18           Other Feat             $151,330             Final Total              $1,174,800
  Sec Int Wall                                             Functional                                                 NBH Mod                   1.0000           Override Val
   Partition   T - TYPICAL                                 Economic D - DEMAND                           75            NBC Infl                 1.0000            Assmnt Ft.
     P. Floor        4 - CARPET                             Special                                                    LUC Ft.                  1.0000           Assessed Val              $1,174,800
    Sec Floor                                              Override                                                  Adj Tot (RCN)           5,730,924            Total $/SF                $24.54           Mobile Home
   Bmt Floors                                                                                 Total 79.5%              Depr %                   79.5%            Undepr $/SF               115.80520          Make                         Model                        Serial                        Year                        Color
   Sub Floors
                                                       Comparable Sales                                                                          Sub Areas                                                                                                                              Alt Areas
  Bmt Garage 0
                                                          Rtng           Parcel ID      Type                  Sale Date           Price            Code Desc                          Net Area             Gross A.     F. Area          Sz Adj A.      Rate AV         Undepr Val      S. Area       Alt Type     % Alt     Tenants       Qual                    %U
     Electric        3 - TYPICAL
                                                                                                                                                   FFL 1ST FLOOR                       47,872               47,872      47,872             47,872         70.10          3,355,827
    Insulation       2 - TYPICAL
                                                                                                                                                   CNP       CANOPY                         1,050            1,050             0                0          20.50             21,525
    Int Vs Ext       S
    Heat Fuel        2 - GAS
      Heat           1 - FORCED H/A
   # Heat Sys        1
                                                                                                                                                                                                                                                                                                                                                          A (Property Cards) Page 7 of 15




    Heated %         100          AC %        100
    Sol HW %                   Ctrl Vac %
   Com Wall %                   Sprink %      100             Avg Rtng                                   Ind Val                                                 Building Totals           48,922           48,922      47,872             47,872                         3,377,352
                                                                                                                                                                  Parcel Totals            48,922           48,922      47,872             47,872                         3,377,352
Special Features / Yard Items
  Code Desc                               A Y/S         Qty                  Size                 Qual        Con       Year              Unit Prc D/S         Depr %           LUC         Ft.        NBC       Ft.   Juris       Ft.               Appr Val           Assessed Image
                                                                                                                                                                                                                                                                                                                                                  Doc 323-1 Filed 09/11/24 Entered 09/11/24 07:59:35




   66 CANOPY                              A Y            1               50.00x12.00               G          GD        1997                25.63 T             45%             101         1           RV        1                1                   8,500               8,500
    85      PAVING                        D      Y        1               169020.00                 G          GD         1998                  1.88     T      45%             101          1        RV          1                1                  174,300             174,300
    77      LITE-SIN                      D      Y        6                  1.00                   G          GD         1998             937.50        T      45%             101          1        RV          1                1                    3,100               3,100
    84      SIGN-ILU                      D      Y        1                 184.00                  G          GD         1998              47.50        T      45%             101          1        RV          1                1                    4,800               4,800
    87      FENCE-4                       D      Y        1                 390.00                  G          GD         1998                  8.75     T      45%             101          1        RV          1                1                    1,900               1,900
    78      LITE-DBL                      D      Y        9                  1.00                   G          GD         1997            1,875.00       T      45%             101          1        RV          1                1                    9,300               9,300
                                                                                                                                                                                                                                                                                                                                                                           Desc Exhibit




                    Building Totals                                         Yard Item Appr                                                201,900                        Special Feature Appr                                                         201,900             201,900
                      Parcel Totals                                         Yard Item Appr                                                201,900                        Special Feature Appr                                                         201,900             201,900
Disclaimer: This Information is believed to be correct but is subject to change and is not guaranteed                                                                                                                                              Property: 3883 | Bld: 5425 | Seq: 1 | Year: 2020 | Data As Of Date: 08/29/2024 | User: jons | DB: Assess50
32              48                         0                                                32-48-0                                                                                                                Town of Westborough                               Card: 1 of 1      Total Card            Total Parcel
Map             Blk                        Lot                      Parcel ID 4          Parcel ID                      Building Location231 TURNPIKE RD                                                                                                               APPR             2,622,100 /            2,622,100
PROPERTY LOCATION                                                                    IN PROCESS APPRAISAL SUMMARY                                                                                                                                                  USE + IMP            2,622,100 /            2,622,100
231 TURNPIKE RD                                                                          Use Code          Building Val           Yard Items            Land Size                                            Land Val                       Total Val             USE LAND                      0/                      0
WESTBOROUGH, MA 01581                                                                       364             1,060,200               231,000                29.34                                            1,330,900                      2,622,100              ASSESSED              2,622,100 /            2,622,100
OWNERSHIP                                                                                                                                                                                                                                                LEGAL DESCRIPTION
WESTBOROUGH SPE LLC
C/O BABCOCK & BROWN ADMIN SVCS, 2 - 6TH FLOOR
                                                                                        Building Total                      1,060,200                  231,000                         29.34                 1,330,900                     2,622,100
TWO HARRISON ST                                                                          Parcel Total                       1,060,200                  231,000                         29.34                 1,330,900                     2,622,100
SAN FRANCISCO, CA 94105-0000                                                               Source             0 - Mkt Adj Cost                   Tot Val SF/Bld                        54.77            Tot Val SF/Prcl                        54.77              Lot Size
                                                                                                                                                                                                                                                              Total Land
                                                                                     PREVIOUS ASSESSMENTS                                                                                                                       Property ID: 3883         Land Unit Type
                                                                                       Tx Yr       Cat        Use            Bld Value          Yard Items        Land Size                 Land Val            Total Appr            Assessed Notes                              Date
                                                                                       2021        FV         364            1,060,200            231,000          29.336                  1,330,900            2,622,100             2,622,100 CPRO BILLING                   12/03/2020
                                                                                                                                                                                                                                                                                                                                             Case 23-40709




Occ      X                               Type                                          2020        FV         364              887,700            201,900          29.336                  4,149,500            5,239,100             5,239,100 YEAR END ROLL                  12/05/2019               Abstract
PREVIOUS OWNER                                                                         2019        FV         364              887,700            201,900          29.336                  4,149,500            5,239,100             5,239,100 CPRO BILLING                   12/04/2018
CAREY LESLIE S., TRUSTEE                                                               2018        FV         364            5,109,400            201,900          29.336                  3,953,500            9,264,800             9,264,800 CPRO billing                   12/04/2017             GIS Coord 1
-0000                                                                                  2017        FV         364            5,109,400            201,900          29.336                  3,953,500            9,264,800             9,264,800 YEAR END                       11/28/2016
                                                                                                                                                                                                                                                                                                      GIS Coord 2
                                                                                       2016        FV         364             5,109,400            201,900         29.336                  3,953,500            9,264,800             9,264,800                                 11/17/2015
                                                                                       2015        FV         364             4,753,900            238,600         29.336                  3,757,500            8,750,000             8,750,000                                 11/19/2014              Insp Date
                                                                                       2014        FV         364             4,753,900            238,600         29.336                  3,757,500            8,750,000             8,750,000 cpro                            11/21/2013             12/12/2012
                                                                                       2013        FV         364             5,935,700            157,700         29.336                  3,757,500            9,850,900             9,850,900 Year End Roll                   12/17/2012         Print Date / Time
                                                                                       2012        FV         364             5,378,000            158,800         29.336                  3,795,700            9,332,500             9,332,500 Year End                      12/8/2011         8/29/2024      10:12 am
                                                                                                                                                                                                                                                                                                   Last Date / Time
                                                                                     SALES INFORMATION
NARRATIVE DESCRIPTION                                                                                                                                                                                                                                                                              2/5/21 4:28 pm
This parcel contains 29 AC of land mainly classified as THEATER                      Grantor                                     Legal Ref                Type             Date                Sale Price TSF          Verif.        NAL Notes
                                                                                                                                                                                                                                                                                                         apro
with a THEATER building built about 1997, having primarily                           CAREY LESLIE S., TRUSTEE                    19369-75                            11/21/1997                9,151,449 No                            C
                                                                                                                                                                                                                                                                                                 USER DEFINED
BRICK VENR Exterior and 47,872 Square Feet, with 1                                   LANE                                        16210-372                           04/15/1994                   375,000 No                           I
                                                                                                                                                                                                                                                                                                   Pasco Nbhd
Commercial Unit, 6 Half Baths.
                                                                                                                                                                                                                                                                                                      32/2B
                                                                                                                                                                                                                                                                                                    Prior Nbhd
OTHER ASSESSMENTS                                                                                                                                                                                                                                                                                     LOT 1
   Code       Desc                              Amt              Comm Int Amt                                                                                                                                                                                                                        GIS CA
     IE       PENALTY                                 250.00
                                                                                     BUILDING PERMITS                                                                                                                               ACTIVITIES                                PriorID1b
     IE       PENALTY                                 250.00
                                                                                         Date    Number                       Desc                Amount   Closed             Status       Type        Notes             Last Visit     Date       Result By
     IE       PENALTY                                   0.00                0.00
                                                                                      11/27/2017 CG-2017-00177             DEMOLITION                  0 02/08/2018             C          COM                                       12/12/2012
                                                                                                                                                                                                       DEMOLISH SIGN LETTERS, CINEMA GOING           2
                                                                                                                                                                                                                                            OUT OF BUSINESSJON  STEINBER
                                                                                                                                                                                                                                                            IN TOWN          Comm.Distr.
PROPERTY FACTORS
                                                                                      11/07/2017 CG-2017-00168             DEMOLITION                  0 02/08/2018             C          COM         REMOVAL OF ALL TRADE FIXTURES INCLUDING SEATING, SCREENS AND PROJECTORS.
        Item Code                          Item            Code            %
                                                                                      03/21/2013         134-2013            MANUAL               119,800                         C                    REPAIR 2 EGRESSES                                                      Apt.Units
       Util 1                             Dis 1 D
       Util 2                             Dis 2                                       10/21/2003         470/2003             SIGN                 10,000 05/13/2004              C                                              02/13/2004
                                                                                                                                                                                                                                                                                                                            A (Property Cards) Page 8 of 15




                                                                                      07/21/1995         314/95              MANUAL             2,880,000 05/17/2000              C                    CINEMA                                                                                          Web Image
       Util 3                             Dis 3
   Census                                Zone 1 BA                         100
                                                                                                                                                                                                                                                                                                        PriorID2c
  F. Haz                                 Zone 2
       Topo                              Zone 3                                                                                                                                                                                                                                                         PriorID3c
      Street                                 HX                                                                                                                                                                                                                                                             L1
     Traffic                                                                                                                                                                                                                                                                                          GIS Condo Pin
   Exempt
                                                                                                                                                                                                                                                                                                                    Doc 323-1 Filed 09/11/24 Entered 09/11/24 07:59:35




LAND SECTION (364)
 LUC LUC Desc   Alt %              Ft.                 # Units     Depth          U. Type       L. Type      Ft.    Base V. Unit Prc           Adj Prc   NBC         Ft.      Mod.     Inf 1    %      Inf 2 % Inf 3 %                  Appr Alt 2 LUC   %       Spec L.V. Juris     L. Ft.      Assessed Notes
 364 THEATER                       1                  174,240                       SF           SITE        1             010                       6    CV         1                   R     -40                                  1,045,400                            0             1         1,045,400
 364 THEATER                       1                   25.336                       AC         EXCESS        1             030,000           11,268.55    CV         1                   S     -50                                    285,500                            0             1           285,500
                                                                                                                                                                                                                                                                                                                                             Desc Exhibit




                   Total AC/HA                          29.34              Total SF/SM              1,277,876.16             Parcel LUC 364 - THEATER                                  P. NBC Desc COMM VG                Tot       1,330,900            Tot              0             Tot      1,330,900
Disclaimer: This Information is believed to be correct but is subject to change and is not guaranteed                                                                                                           Property: 3883 | Bld: 5425 | Seq: 1 | Year: 2021 | Data As Of Date: 08/29/2024 | User: jons | DB: Assess50
Parcel ID 32-48-0                                                                                    Comments                                                                                  Sketch
Exterior Information                          Condo Information                                       486-1997 5-97 STEEL + EXT WALL. 110-94/SEE WHITE CARD
    Type         81 - THEATER                   Location                                             FOR 32/2B, MEASURED PAVING WITH GIS TOOL - REGAL
  Stry Hght      2                              Tot Units                                            LEASE EXPIRED 11/2017 TAX BILL WAS CHANGED BACK TO
 (Liv) Units     0          Tot 1                                                                    OWNER OF TITLE ON DEED
                                                    Floor
   Found         1 - CONCRETE                                                                        FY2018 EXPENSE DATA TO BE ENTERED
                                                   % Own
   Frame         2 - STEEL                                                                           FY19 I&E RETURNED BY PO/UNABLE TO FORWARD.
                                                   Name
   P. Wall       8 - BRICK VENR
  Sec Wall       21 - CONC BLOC 50            Bath Features                                       Res Breakdown                                                  Remodeling
  Roof Str       4 - FLAT                      Full Bath          0       Rtng                          Floor          No. Unit          Rooms     Bdrms          Exterior
  Roof Cvr       4 - TAR+GRAVEL                Add Full           0       Rtng                                                                                    Interior
    Color                                      3/4 Bath           0       Rtng                                                                                     Add.
    View                                                                                                                                                          Kitchen
                                               Add. 3/4           0       Rtng
   Shape                                                                                                                                                           Bath
                                                                                                                                                                                                                                                                                                                                                      Case 23-40709




                                               1/2 Bath           6       Rtng A - AVERAGE
 Bld Name                                                                                                                                                          Plumb
                                               Add. 1/2           0       Rtng                        Bld Total                                                   Electric
General Information                            Other Fix          0       Rtng                        Prcl Total                                                  Heating
   Grade         CA - COMM V GOOD
                                                                                                                                                                  General
  Year Blt       1997      Eff Yr             Other Features                                      Calc Ladder
  Alt LUC                                       Kitchens          2       Rtng A - AVERAGE              Base Rate                  85.00                Depr                 4,670,703
   Juris                                           Add Kit.       0       Rtng                           Size Adj                 0.82507          Depr'd Total              1,060,221
  Con Mod                                      Fireplaces         0       Rtng                           Con Adj                  0.99960            Juris Ft.                 1.0000
                                               WS Flues           0       Rtng                           Adj Prc                  $70.10          Spec. Features                   $0
Interior Information
  Avg Ht / Fl                                                                                           Grade Ft.                 1.65200           Lump Sum
                                              Depreciation
   P. Int Wall    1 - DRYWALL                  Phys Con PR - Poor                          26           Other Feat             $151,330             Final Total              $1,060,200
  Sec Int Wall                                 Functional                                               NBH Mod                   1.0000           Override Val
   Partition   T - TYPICAL                     Economic D - DEMAND                         75            NBC Infl                 1.0000            Assmnt Ft.                 1.0000
    P. Floor      4 - CARPET                    Special                                                  LUC Ft.                  1.0000           Assessed Val              $1,060,200
   Sec Floor                                   Override                                                Adj Tot (RCN)           5,730,924            Total $/SF                $22.15           Mobile Home
  Bmt Floors                                                                      Total 81.5%            Depr %                   81.5%            Undepr $/SF               115.80520          Make                          Model                     Serial                     Year                      Color
  Sub Floors
                                              Comparable Sales                                                                     Sub Areas                                                                                                                           Alt Areas
  Bmt Garage 0
                                              Rtng            Parcel ID      Type               Sale Date           Price            Code Desc                          Net Area             Gross A.     F. Area          Sz Adj A.     Rate AV        Undepr Val     S. Area     Alt Type    % Alt     Tenants      Qual                    %U
    Electric      3 - TYPICAL
                                                                                                                                     FFL 1ST FLOOR                       47,872               47,872      47,872             47,872        70.10         3,355,827
   Insulation     2 - TYPICAL
                                                                                                                                     CNP       CANOPY                         1,050            1,050             0                 0        20.50            21,525
   Int Vs Ext     S
   Heat Fuel      2 - GAS
     Heat         1 - FORCED H/A
  # Heat Sys      1
                                                                                                                                                                                                                                                                                                                                     A (Property Cards) Page 9 of 15




   Heated %       100        AC %       100
   Sol HW %               Ctrl Vac %
  Com Wall %               Sprink %     100        Avg Rtng                                Ind Val                                                 Building Totals           48,922           48,922      47,872             47,872                      3,377,352
                                                                                                                                                    Parcel Totals            48,922           48,922      47,872             47,872                      3,377,352
Special Features / Yard Items
  Code Desc                         A Y/S     Qty                 Size              Qual        Con       Year              Unit Prc D/S         Depr %           LUC         Ft.        NBC       Ft.   Juris       Ft.               Appr Val         Assessed Image
                                                                                                                                                                                                                                                                                                                             Doc 323-1 Filed 09/11/24 Entered 09/11/24 07:59:35




   66 CANOPY                        A Y        1              50.00x12.00            G          GD        1997                20.50 T             45%             101         1           RV        1                1                   8,500             8,500
   85     PAVING                    D    Y     1               169020.00             G           GD         1998                  1.75     T      45%             101          1        RV          1                1                 203,400           203,400
   77     LITE-SIN                  D    Y     6                  1.00               G           GD         1998             750.00        T      45%             101          1        RV          1                1                    3,100             3,100
   84     SIGN-ILU                  D    Y     1                 184.00              G           GD         1998              38.00        T      45%             101          1        RV          1                1                    4,800             4,800
   87     FENCE-4                   D    Y     1                 390.00              G           GD         1998                  7.00     T      45%             101          1        RV          1                1                    1,900             1,900
   78     LITE-DBL                  D    Y     9                  1.00               G           GD         1997            1,500.00       T      45%             101          1        RV          1                1                    9,300             9,300
                                                                                                                                                                                                                                                                                                                                                      Desc Exhibit




                  Building Totals                                Yard Item Appr                                             231,000                        Special Feature Appr                                                        231,000           231,000
                   Parcel Totals                                 Yard Item Appr                                             231,000                        Special Feature Appr                                                        231,000           231,000
Disclaimer: This Information is believed to be correct but is subject to change and is not guaranteed                                                                                                                      Property: 3883 | Bld: 5425 | Seq: 1 | Year: 2021 | Data As Of Date: 08/29/2024 | User: jons | DB: Assess50
32              48                         0                                                32-48-0                                                                                                                Town of Westborough                               Card: 1 of 1      Total Card            Total Parcel
Map             Blk                        Lot                      Parcel ID 4          Parcel ID                      Building Location231 TURNPIKE RD                                                                                                               APPR             1,994,900 /            1,994,900
PROPERTY LOCATION                                                                    IN PROCESS APPRAISAL SUMMARY                                                                                                                                                  USE + IMP            1,994,900 /            1,994,900
231 TURNPIKE RD                                                                          Use Code          Building Val           Yard Items            Land Size                                             Land Val                      Total Val             USE LAND                      0/                      0
WESTBOROUGH, MA 01581                                                                       364             1,060,200               231,000                29.34                                               703,700                     1,994,900              ASSESSED              1,994,900 /            1,994,900
OWNERSHIP                                                                                                                                                                                                                                                LEGAL DESCRIPTION
WESTBOROUGH SPE LLC
C/O BABCOCK & BROWN ADMIN SVCS, 2 - 6TH FLOOR
                                                                                        Building Total                      1,060,200                  231,000                         29.34                  703,700                      1,994,900
TWO HARRISON ST                                                                          Parcel Total                       1,060,200                  231,000                         29.34                  703,700                      1,994,900
SAN FRANCISCO, CA 94105-0000                                                               Source             0 - Mkt Adj Cost                   Tot Val SF/Bld                        41.67            Tot Val SF/Prcl                        41.67              Lot Size
                                                                                                                                                                                                                                                              Total Land
                                                                                     PREVIOUS ASSESSMENTS                                                                                                                       Property ID: 3883         Land Unit Type
                                                                                       Tx Yr       Cat        Use            Bld Value          Yard Items        Land Size                 Land Val            Total Appr            Assessed Notes                              Date
                                                                                       2022        FV         364            1,060,200            231,000          29.336                    703,700            1,994,900             1,994,900                                05/18/2022
                                                                                                                                                                                                                                                                                                                                             Case 23-40709




Occ      X                               Type                                          2021        FV         364            1,060,200            231,000          29.336                  1,330,900            2,622,100             2,622,100 CPRO BILLING                   12/03/2020               Abstract
PREVIOUS OWNER                                                                         2020        FV         364              887,700            201,900          29.336                  4,149,500            5,239,100             5,239,100 YEAR END ROLL                  12/05/2019
CAREY LESLIE S., TRUSTEE                                                               2019        FV         364              887,700            201,900          29.336                  4,149,500            5,239,100             5,239,100 CPRO BILLING                   12/04/2018             GIS Coord 1
-0000                                                                                  2018        FV         364            5,109,400            201,900          29.336                  3,953,500            9,264,800             9,264,800 CPRO billing                   12/04/2017
                                                                                                                                                                                                                                                                                                      GIS Coord 2
                                                                                       2017        FV         364             5,109,400            201,900         29.336                  3,953,500            9,264,800             9,264,800 YEAR END                        11/28/2016
                                                                                       2016        FV         364             5,109,400            201,900         29.336                  3,953,500            9,264,800             9,264,800                                 11/17/2015              Insp Date
                                                                                       2015        FV         364             4,753,900            238,600         29.336                  3,757,500            8,750,000             8,750,000                                 11/19/2014             12/12/2012
                                                                                       2014        FV         364             4,753,900            238,600         29.336                  3,757,500            8,750,000             8,750,000 cpro                            11/21/2013         Print Date / Time
                                                                                       2013        FV         364             5,935,700            157,700         29.336                  3,757,500            9,850,900             9,850,900 Year End Roll                 12/17/2012        8/29/2024      10:11 am
                                                                                                                                                                                                                                                                                                   Last Date / Time
                                                                                     SALES INFORMATION
NARRATIVE DESCRIPTION                                                                                                                                                                                                                                                                              2/5/21 4:28 pm
This parcel contains 29 AC of land mainly classified as THEATER                      Grantor                                     Legal Ref                Type             Date                Sale Price TSF          Verif.        NAL Notes
                                                                                                                                                                                                                                                                                                         apro
with a THEATER building built about 1997, having primarily                           CAREY LESLIE S., TRUSTEE                    19369-75                            11/21/1997                9,151,449 No                            C
                                                                                                                                                                                                                                                                                                 USER DEFINED
BRICK VENR Exterior and 47,872 Square Feet, with 1                                   LANE                                        16210-372                           04/15/1994                   375,000 No                           I
                                                                                                                                                                                                                                                                                                   Pasco Nbhd
Commercial Unit, 6 Half Baths.
                                                                                                                                                                                                                                                                                                      32/2B
                                                                                                                                                                                                                                                                                                    Prior Nbhd
OTHER ASSESSMENTS                                                                                                                                                                                                                                                                                     LOT 1
   Code       Desc                              Amt              Comm Int Amt                                                                                                                                                                                                                        GIS CA
     IE       PENALTY                                 250.00
                                                                                     BUILDING PERMITS                                                                                                                               ACTIVITIES                                PriorID1b
     IE       PENALTY                                 250.00
                                                                                         Date    Number                       Desc                Amount   Closed             Status       Type        Notes             Last Visit     Date       Result By
     IE       PENALTY                                 250.00
                                                                                      11/27/2017 CG-2017-00177             DEMOLITION                  0 02/08/2018             C          COM                                       12/12/2012
                                                                                                                                                                                                       DEMOLISH SIGN LETTERS, CINEMA GOING           2
                                                                                                                                                                                                                                            OUT OF BUSINESSJON  STEINBER
                                                                                                                                                                                                                                                            IN TOWN          Comm.Distr.
PROPERTY FACTORS
                                                                                      11/07/2017 CG-2017-00168             DEMOLITION                  0 02/08/2018             C          COM         REMOVAL OF ALL TRADE FIXTURES INCLUDING SEATING, SCREENS AND PROJECTORS.
        Item Code                          Item            Code            %
                                                                                      03/21/2013         134-2013            MANUAL               119,800                         C                    REPAIR 2 EGRESSES                                                      Apt.Units
       Util 1                             Dis 1 D
       Util 2                             Dis 2                                       10/21/2003         470/2003             SIGN                 10,000 05/13/2004              C                                              02/13/2004
                                                                                                                                                                                                                                                                                                       Web Image
                                                                                                                                                                                                                                                                                                                            A (Property Cards) Page 10 of 15




       Util 3                             Dis 3                                       07/21/1995         314/95              MANUAL             2,880,000 05/17/2000              C                    CINEMA
   Census                                Zone 1 BA                         100
                                                                                                                                                                                                                                                                                                        PriorID2c
  F. Haz                                 Zone 2
       Topo                              Zone 3                                                                                                                                                                                                                                                         PriorID3c
      Street                                 HX                                                                                                                                                                                                                                                             L1
     Traffic                                                                                                                                                                                                                                                                                          GIS Condo Pin
   Exempt
                                                                                                                                                                                                                                                                                                                    Doc 323-1 Filed 09/11/24 Entered 09/11/24 07:59:35




LAND SECTION (364)
 LUC LUC Desc   Alt %              Ft.                 # Units     Depth          U. Type       L. Type      Ft.    Base V. Unit Prc           Adj Prc   NBC         Ft.      Mod.     Inf 1    %      Inf 2 % Inf 3 %                  Appr Alt 2 LUC   %       Spec L.V. Juris     L. Ft.      Assessed Notes
 364 THEATER                       1                  174,240                       SF           SITE        1             010                     2.4    CV         1                   R     -60       E -40                        418,200                            0             1          418,200
 364 THEATER                       1                   25.336                       AC         EXCESS        1             030,000           11,268.55    CV         1                   S     -50                                    285,500                            0             1          285,500
                                                                                                                                                                                                                                                                                                                                             Desc Exhibit




                   Total AC/HA                          29.34              Total SF/SM              1,277,876.16             Parcel LUC 364 - THEATER                                  P. NBC Desc COMM VG                Tot         703,700            Tot              0             Tot        703,700
Disclaimer: This Information is believed to be correct but is subject to change and is not guaranteed                                                                                                           Property: 3883 | Bld: 5425 | Seq: 1 | Year: 2022 | Data As Of Date: 08/29/2024 | User: jons | DB: Assess50
Parcel ID 32-48-0                                                                                    Comments                                                                                  Sketch
Exterior Information                          Condo Information                                       486-1997 5-97 STEEL + EXT WALL. 110-94/SEE WHITE CARD
    Type         81 - THEATER                   Location                                             FOR 32/2B, MEASURED PAVING WITH GIS TOOL - REGAL
  Stry Hght      2                              Tot Units                                            LEASE EXPIRED 11/2017 TAX BILL WAS CHANGED BACK TO
 (Liv) Units     0          Tot 1                                                                    OWNER OF TITLE ON DEED
                                                    Floor
   Found         1 - CONCRETE                                                                        FY2018 EXPENSE DATA TO BE ENTERED
                                                   % Own
   Frame         2 - STEEL                                                                           FY19 I&E RETURNED BY PO/UNABLE TO FORWARD.
                                                   Name
   P. Wall       8 - BRICK VENR
  Sec Wall       21 - CONC BLOC 50            Bath Features                                       Res Breakdown                                                  Remodeling
  Roof Str       4 - FLAT                      Full Bath          0       Rtng                          Floor          No. Unit          Rooms     Bdrms          Exterior
  Roof Cvr       4 - TAR+GRAVEL                Add Full           0       Rtng                                                                                    Interior
    Color                                      3/4 Bath           0       Rtng                                                                                     Add.
    View                                                                                                                                                          Kitchen
                                               Add. 3/4           0       Rtng
   Shape                                                                                                                                                           Bath
                                                                                                                                                                                                                                                                                                                                                      Case 23-40709




                                               1/2 Bath           6       Rtng A - AVERAGE
 Bld Name                                                                                                                                                          Plumb
                                               Add. 1/2           0       Rtng                        Bld Total                                                   Electric
General Information                            Other Fix          0       Rtng                        Prcl Total                                                  Heating
   Grade         CA - COMM V GOOD
                                                                                                                                                                  General
  Year Blt       1997      Eff Yr             Other Features                                      Calc Ladder
  Alt LUC                                       Kitchens          2       Rtng A - AVERAGE              Base Rate                  85.00                Depr                 4,670,703
   Juris                                           Add Kit.       0       Rtng                           Size Adj                 0.82507          Depr'd Total              1,060,221
  Con Mod                                      Fireplaces         0       Rtng                           Con Adj                  0.99960            Juris Ft.                 1.0000
                                               WS Flues           0       Rtng                           Adj Prc                  $70.10          Spec. Features                   $0
Interior Information
  Avg Ht / Fl                                                                                           Grade Ft.                 1.65200           Lump Sum
                                              Depreciation
   P. Int Wall    1 - DRYWALL                  Phys Con PR - Poor                          26           Other Feat             $151,330             Final Total              $1,060,200
  Sec Int Wall                                 Functional                                               NBH Mod                   1.0000           Override Val
   Partition   T - TYPICAL                     Economic D - DEMAND                         75            NBC Infl                 1.0000            Assmnt Ft.                 1.0000
    P. Floor      4 - CARPET                    Special                                                  LUC Ft.                  1.0000           Assessed Val              $1,060,200
   Sec Floor                                   Override                                                Adj Tot (RCN)           5,730,924            Total $/SF                $22.15           Mobile Home
  Bmt Floors                                                                      Total 81.5%            Depr %                   81.5%            Undepr $/SF               115.80520          Make                          Model                     Serial                     Year                      Color
  Sub Floors
                                              Comparable Sales                                                                     Sub Areas                                                                                                                           Alt Areas
  Bmt Garage 0
                                              Rtng            Parcel ID      Type               Sale Date           Price            Code Desc                          Net Area             Gross A.     F. Area          Sz Adj A.     Rate AV        Undepr Val     S. Area     Alt Type    % Alt     Tenants      Qual                    %U
    Electric      3 - TYPICAL
                                                                                                                                     FFL 1ST FLOOR                       47,872               47,872      47,872             47,872        70.10         3,355,827
   Insulation     2 - TYPICAL
                                                                                                                                     CNP       CANOPY                         1,050            1,050             0                 0        20.50            21,525
   Int Vs Ext     S
   Heat Fuel      2 - GAS
     Heat         1 - FORCED H/A
  # Heat Sys      1
                                                                                                                                                                                                                                                                                                                                     A (Property Cards) Page 11 of 15




   Heated %       100        AC %       100
   Sol HW %               Ctrl Vac %
  Com Wall %               Sprink %     100        Avg Rtng                                Ind Val                                                 Building Totals           48,922           48,922      47,872             47,872                      3,377,352
                                                                                                                                                    Parcel Totals            48,922           48,922      47,872             47,872                      3,377,352
Special Features / Yard Items
  Code Desc                         A Y/S     Qty                 Size              Qual        Con       Year              Unit Prc D/S         Depr %           LUC         Ft.        NBC       Ft.   Juris       Ft.               Appr Val         Assessed Image
                                                                                                                                                                                                                                                                                                                             Doc 323-1 Filed 09/11/24 Entered 09/11/24 07:59:35




   66 CANOPY                        A Y        1              50.00x12.00            G          GD        1997                20.50 T             45%             101         1           RV        1                1                   8,500             8,500
   85     PAVING                    D    Y     1               169020.00             G           GD         1998                  1.75     T      45%             101          1        RV          1                1                 203,400           203,400
   77     LITE-SIN                  D    Y     6                  1.00               G           GD         1998             750.00        T      45%             101          1        RV          1                1                    3,100             3,100
   84     SIGN-ILU                  D    Y     1                 184.00              G           GD         1998              38.00        T      45%             101          1        RV          1                1                    4,800             4,800
   87     FENCE-4                   D    Y     1                 390.00              G           GD         1998                  7.00     T      45%             101          1        RV          1                1                    1,900             1,900
   78     LITE-DBL                  D    Y     9                  1.00               G           GD         1997            1,500.00       T      45%             101          1        RV          1                1                    9,300             9,300
                                                                                                                                                                                                                                                                                                                                                      Desc Exhibit




                  Building Totals                                Yard Item Appr                                             231,000                        Special Feature Appr                                                        231,000           231,000
                   Parcel Totals                                 Yard Item Appr                                             231,000                        Special Feature Appr                                                        231,000           231,000
Disclaimer: This Information is believed to be correct but is subject to change and is not guaranteed                                                                                                                      Property: 3883 | Bld: 5425 | Seq: 1 | Year: 2022 | Data As Of Date: 08/29/2024 | User: jons | DB: Assess50
32              48                         0                                                32-48-0                                                                                                                Town of Westborough                               Card: 1 of 1      Total Card            Total Parcel
Map             Blk                        Lot                      Parcel ID 4          Parcel ID                      Building Location231 TURNPIKE RD                                                                                                               APPR             2,082,000 /            2,082,000
PROPERTY LOCATION                                                                    IN PROCESS APPRAISAL SUMMARY                                                                                                                                                  USE + IMP            2,082,000 /            2,082,000
231 TURNPIKE RD                                                                          Use Code          Building Val           Yard Items            Land Size                                             Land Val                      Total Val             USE LAND                      0/                      0
WESTBOROUGH, MA 01581                                                                       364             1,060,200               318,100                29.34                                               703,700                     2,082,000              ASSESSED              2,082,000 /            2,082,000
OWNERSHIP                                                                                                                                                                                                                                                LEGAL DESCRIPTION
TOWN OF WESTBOROUGH
34 WEST MAIN STREET
                                                                                        Building Total                      1,060,200                  318,100                         29.34                  703,700                      2,082,000
WESTBOROUGH, MA 01581                                                                    Parcel Total                       1,060,200                  318,100                         29.34                  703,700                      2,082,000
                                                                                           Source             0 - Mkt Adj Cost                   Tot Val SF/Bld                        43.49            Tot Val SF/Prcl                        43.49              Lot Size
                                                                                                                                                                                                                                                              Total Land
                                                                                     PREVIOUS ASSESSMENTS                                                                                                                       Property ID: 3883         Land Unit Type
                                                                                       Tx Yr       Cat        Use            Bld Value          Yard Items        Land Size                 Land Val            Total Appr            Assessed Notes                              Date
                                                                                       2023        FV         364            1,060,200            318,100          29.336                    703,700            2,082,000             2,082,000                                05/31/2023
                                                                                                                                                                                                                                                                                                                                             Case 23-40709




Occ      X                               Type                                          2022        FV         364            1,060,200            231,000          29.336                    703,700            1,994,900             1,994,900                                05/18/2022               Abstract
PREVIOUS OWNER                                                                         2021        FV         364            1,060,200            231,000          29.336                  1,330,900            2,622,100             2,622,100 CPRO BILLING                   12/03/2020
WESTBOROUGH SPE LLC                                                                    2020        FV         364              887,700            201,900          29.336                  4,149,500            5,239,100             5,239,100 YEAR END ROLL                  12/05/2019             GIS Coord 1
C/O BABCOCK & BROWN ADMIN SVCS, 2 - 6TH FLOOR                                          2019        FV         364              887,700            201,900          29.336                  4,149,500            5,239,100             5,239,100 CPRO BILLING                   12/04/2018
TWO HARRISON ST                                                                                                                                                                                                                                                                                       GIS Coord 2
                                                                                       2018        FV         364             5,109,400            201,900         29.336                  3,953,500            9,264,800             9,264,800 CPRO billing                    12/04/2017
SAN FRANCISCO, CA 94105-0000                                                           2017        FV         364             5,109,400            201,900         29.336                  3,953,500            9,264,800             9,264,800 YEAR END                        11/28/2016              Insp Date
                                                                                       2016        FV         364             5,109,400            201,900         29.336                  3,953,500            9,264,800             9,264,800                                 11/17/2015             12/12/2012
                                                                                       2015        FV         364             4,753,900            238,600         29.336                  3,757,500            8,750,000             8,750,000                                 11/19/2014         Print Date / Time
                                                                                       2014        FV         364             4,753,900            238,600         29.336                  3,757,500            8,750,000             8,750,000 cpro                          11/21/2013        8/29/2024      10:10 am
                                                                                                                                                                                                                                                                                                   Last Date / Time
                                                                                     SALES INFORMATION
NARRATIVE DESCRIPTION                                                                                                                                                                                                                                                                              2/5/21 4:28 pm
This parcel contains 29 AC of land mainly classified as THEATER                      Grantor                                     Legal Ref                Type             Date                Sale Price TSF          Verif.        NAL Notes
                                                                                                                                                                                                                                                                                                         apro
with a THEATER building built about 1997, having primarily                           WESTBOROUGH SPE LLC                         66983-53                            01/21/2022                          0 No                          E
                                                                                                                                                                                                                                                                                                 USER DEFINED
BRICK VENR Exterior and 47,872 Square Feet, with 1                                   CAREY LESLIE S., TRUSTEE                    19369-75                            11/21/1997                9,151,449 No                            C
                                                                                                                                                                                                                                                                                                   Pasco Nbhd
Commercial Unit, 6 Half Baths.                                                       LANE                                        16210-372                           04/15/1994                   375,000 No                           I                                                              32/2B
                                                                                                                                                                                                                                                                                                    Prior Nbhd
OTHER ASSESSMENTS                                                                                                                                                                                                                                                                                     LOT 1
   Code       Desc                              Amt              Comm Int Amt                                                                                                                                                                                                                        GIS CA
     IE       PENALTY                                 250.00
                                                                                     BUILDING PERMITS                                                                                                                               ACTIVITIES                                PriorID1b
     IE       PENALTY                                 250.00
                                                                                         Date    Number                       Desc                Amount   Closed             Status       Type        Notes             Last Visit     Date       Result By
     IE       PENALTY                                 250.00
                                                                                      11/27/2017 CG-2017-00177             DEMOLITION                  0 02/08/2018             C          COM                                       12/12/2012
                                                                                                                                                                                                       DEMOLISH SIGN LETTERS, CINEMA GOING           2
                                                                                                                                                                                                                                            OUT OF BUSINESSJON  STEINBER
                                                                                                                                                                                                                                                            IN TOWN          Comm.Distr.
PROPERTY FACTORS
                                                                                      11/07/2017 CG-2017-00168             DEMOLITION                  0 02/08/2018             C          COM         REMOVAL OF ALL TRADE FIXTURES INCLUDING SEATING, SCREENS AND PROJECTORS.
        Item Code                          Item            Code            %
                                                                                      03/21/2013         134-2013            MANUAL               119,800                         C                    REPAIR 2 EGRESSES                                                      Apt.Units
       Util 1                             Dis 1 D
       Util 2                             Dis 2                                       10/21/2003         470/2003             SIGN                 10,000 05/13/2004              C                                              02/13/2004
                                                                                                                                                                                                                                                                                                       Web Image
                                                                                                                                                                                                                                                                                                                            A (Property Cards) Page 12 of 15




       Util 3                             Dis 3                                       07/21/1995         314/95              MANUAL             2,880,000 05/17/2000              C                    CINEMA
   Census                                Zone 1 BA                         100
                                                                                                                                                                                                                                                                                                        PriorID2c
  F. Haz                                 Zone 2
       Topo                              Zone 3                                                                                                                                                                                                                                                         PriorID3c
      Street                                 HX                                                                                                                                                                                                                                                             L1
     Traffic                                                                                                                                                                                                                                                                                          GIS Condo Pin
   Exempt
                                                                                                                                                                                                                                                                                                                    Doc 323-1 Filed 09/11/24 Entered 09/11/24 07:59:35




LAND SECTION (364)
 LUC LUC Desc   Alt %              Ft.                 # Units     Depth          U. Type       L. Type      Ft.    Base V. Unit Prc           Adj Prc   NBC         Ft.      Mod.     Inf 1    %      Inf 2 % Inf 3 %                  Appr Alt 2 LUC   %       Spec L.V. Juris     L. Ft.      Assessed Notes
 364 THEATER                       1                  174,240                       SF           SITE        1             010                     2.4    CV         1                   R     -60       E -40                        418,200                            0             1          418,200
 364 THEATER                       1                   25.336                       AC         EXCESS        1             030,000           11,268.55    CV         1                   S     -50                                    285,500                            0             1          285,500
                                                                                                                                                                                                                                                                                                                                             Desc Exhibit




                   Total AC/HA                          29.34              Total SF/SM              1,277,876.16             Parcel LUC 364 - THEATER                                  P. NBC Desc COMM VG                Tot         703,700            Tot              0             Tot        703,700
Disclaimer: This Information is believed to be correct but is subject to change and is not guaranteed                                                                                                           Property: 3883 | Bld: 5425 | Seq: 1 | Year: 2023 | Data As Of Date: 08/29/2024 | User: jons | DB: Assess50
Parcel ID 32-48-0                                                                                    Comments                                                                                  Sketch
Exterior Information                          Condo Information                                       486-1997 5-97 STEEL + EXT WALL. 110-94/SEE WHITE CARD
    Type         81 - THEATER                   Location                                             FOR 32/2B, MEASURED PAVING WITH GIS TOOL - REGAL
  Stry Hght      2                              Tot Units                                            LEASE EXPIRED 11/2017 TAX BILL WAS CHANGED BACK TO
 (Liv) Units     0          Tot 1                                                                    OWNER OF TITLE ON DEED
                                                    Floor
   Found         1 - CONCRETE                                                                        FY2018 EXPENSE DATA TO BE ENTERED
                                                   % Own
   Frame         2 - STEEL                                                                           FY19 I&E RETURNED BY PO/UNABLE TO FORWARD.
                                                   Name
   P. Wall       8 - BRICK VENR
  Sec Wall       21 - CONC BLOC 50            Bath Features                                       Res Breakdown                                                  Remodeling
  Roof Str       4 - FLAT                      Full Bath          0       Rtng                          Floor          No. Unit          Rooms     Bdrms          Exterior
  Roof Cvr       4 - TAR+GRAVEL                Add Full           0       Rtng                                                                                    Interior
    Color                                      3/4 Bath           0       Rtng                                                                                     Add.
    View                                                                                                                                                          Kitchen
                                               Add. 3/4           0       Rtng
   Shape                                                                                                                                                           Bath
                                                                                                                                                                                                                                                                                                                                                      Case 23-40709




                                               1/2 Bath           6       Rtng A - AVERAGE
 Bld Name                                                                                                                                                          Plumb
                                               Add. 1/2           0       Rtng                        Bld Total                                                   Electric
General Information                            Other Fix          0       Rtng                        Prcl Total                                                  Heating
   Grade         CA - COMM V GOOD
                                                                                                                                                                  General
  Year Blt       1997      Eff Yr             Other Features                                      Calc Ladder
  Alt LUC                                       Kitchens          2       Rtng A - AVERAGE              Base Rate                  85.00                Depr                 4,670,703
   Juris                                           Add Kit.       0       Rtng                           Size Adj                 0.82507          Depr'd Total              1,060,221
  Con Mod                                      Fireplaces         0       Rtng                           Con Adj                  0.99960            Juris Ft.                 1.0000
                                               WS Flues           0       Rtng                           Adj Prc                  $70.10          Spec. Features                   $0
Interior Information
  Avg Ht / Fl                                                                                           Grade Ft.                 1.65200           Lump Sum
                                              Depreciation
   P. Int Wall    1 - DRYWALL                  Phys Con PR - Poor                          26           Other Feat             $151,330             Final Total              $1,060,200
  Sec Int Wall                                 Functional                                               NBH Mod                   1.0000           Override Val
   Partition   T - TYPICAL                     Economic D - DEMAND                         75            NBC Infl                 1.0000            Assmnt Ft.                 1.0000
    P. Floor      4 - CARPET                    Special                                                  LUC Ft.                  1.0000           Assessed Val              $1,060,200
   Sec Floor                                   Override                                                Adj Tot (RCN)           5,730,924            Total $/SF                $22.15           Mobile Home
  Bmt Floors                                                                      Total 81.5%            Depr %                   81.5%            Undepr $/SF               115.80520          Make                          Model                     Serial                     Year                      Color
  Sub Floors
                                              Comparable Sales                                                                     Sub Areas                                                                                                                           Alt Areas
  Bmt Garage 0
                                              Rtng            Parcel ID      Type               Sale Date           Price            Code Desc                          Net Area             Gross A.     F. Area          Sz Adj A.     Rate AV        Undepr Val     S. Area     Alt Type    % Alt     Tenants      Qual                    %U
    Electric      3 - TYPICAL
                                                                                                                                     FFL 1ST FLOOR                       47,872               47,872      47,872             47,872        70.10         3,355,827
   Insulation     2 - TYPICAL
                                                                                                                                     CNP       CANOPY                         1,050            1,050             0                 0        20.50            21,525
   Int Vs Ext     S
   Heat Fuel      2 - GAS
     Heat         1 - FORCED H/A
  # Heat Sys      1
                                                                                                                                                                                                                                                                                                                                     A (Property Cards) Page 13 of 15




   Heated %       100        AC %       100
   Sol HW %               Ctrl Vac %
  Com Wall %               Sprink %     100        Avg Rtng                                Ind Val                                                 Building Totals           48,922           48,922      47,872             47,872                      3,377,352
                                                                                                                                                    Parcel Totals            48,922           48,922      47,872             47,872                      3,377,352
Special Features / Yard Items
  Code Desc                         A Y/S     Qty                 Size              Qual        Con       Year              Unit Prc D/S         Depr %           LUC         Ft.        NBC       Ft.   Juris       Ft.               Appr Val         Assessed Image
                                                                                                                                                                                                                                                                                                                             Doc 323-1 Filed 09/11/24 Entered 09/11/24 07:59:35




   66 CANOPY                        A Y        1              50.00x12.00            G          GD        1997                20.50 T             45%             101         1           RV        1                1                   8,500             8,500
   85     PAVING                    D    Y     1               169020.00             G           GD         1998                  2.50     T      45%             101          1        RV          1                1                 290,500           290,500
   77     LITE-SIN                  D    Y     6                  1.00               G           GD         1998             750.00        T      45%             101          1        RV          1                1                    3,100             3,100
   84     SIGN-ILU                  D    Y     1                 184.00              G           GD         1998              38.00        T      45%             101          1        RV          1                1                    4,800             4,800
   87     FENCE-4                   D    Y     1                 390.00              G           GD         1998                  7.00     T      45%             101          1        RV          1                1                    1,900             1,900
   78     LITE-DBL                  D    Y     9                  1.00               G           GD         1997            1,500.00       T      45%             101          1        RV          1                1                    9,300             9,300
                                                                                                                                                                                                                                                                                                                                                      Desc Exhibit




                  Building Totals                                Yard Item Appr                                             318,100                        Special Feature Appr                                                        318,100           318,100
                   Parcel Totals                                 Yard Item Appr                                             318,100                        Special Feature Appr                                                        318,100           318,100
Disclaimer: This Information is believed to be correct but is subject to change and is not guaranteed                                                                                                                      Property: 3883 | Bld: 5425 | Seq: 1 | Year: 2023 | Data As Of Date: 08/29/2024 | User: jons | DB: Assess50
32              48                         0                                                32-48-0                                                                                                                   Town of Westborough                               Card: 1 of 1      Total Card            Total Parcel
Map             Blk                        Lot                      Parcel ID 4          Parcel ID                      Building Location231 TURNPIKE RD                                                                                                                  APPR             1,813,300 /            1,813,300
PROPERTY LOCATION                                                                    IN PROCESS APPRAISAL SUMMARY                                                                                                                                                     USE + IMP            1,813,300 /            1,813,300
231 TURNPIKE RD                                                                          Use Code          Building Val           Yard Items            Land Size                                                Land Val                      Total Val             USE LAND                      0/                      0
WESTBOROUGH, MA 01581                                                                       937                585,500              515,800                29.34                                                  712,000                     1,813,300              ASSESSED              1,813,300 /            1,813,300
OWNERSHIP                                                                                                                                                                                                                                                   LEGAL DESCRIPTION
TOWN OF WESTBOROUGH
34 WEST MAIN STREET
                                                                                        Building Total                           585,500                  515,800                         29.34                  712,000                      1,813,300
WESTBOROUGH, MA 01581                                                                    Parcel Total                            585,500                  515,800                         29.34                  712,000                      1,813,300
                                                                                           Source             0 - Mkt Adj Cost                      Tot Val SF/Bld                        37.88            Tot Val SF/Prcl                        37.88              Lot Size
                                                                                                                                                                                                                                                                 Total Land
                                                                                     PREVIOUS ASSESSMENTS                                                                                                                          Property ID: 3883         Land Unit Type
                                                                                       Tx Yr       Cat        Use                Bld Value         Yard Items        Land Size                 Land Val            Total Appr            Assessed Notes                              Date
                                                                                       2024        FV         937                  585,500           515,800          29.336                    712,000            1,813,300             1,813,300                                04/23/2024
                                                                                                                                                                                                                                                                                                                                                Case 23-40709




Occ      X                               Type                                          2023        FV         364                1,060,200           318,100          29.336                    703,700            2,082,000             2,082,000                                05/31/2023               Abstract
PREVIOUS OWNER                                                                         2022        FV         364                1,060,200           231,000          29.336                    703,700            1,994,900             1,994,900                                05/18/2022
WESTBOROUGH SPE LLC                                                                    2021        FV         364                1,060,200           231,000          29.336                  1,330,900            2,622,100             2,622,100 CPRO BILLING                   12/03/2020             GIS Coord 1
C/O BABCOCK & BROWN ADMIN SVCS, 2 - 6TH FLOOR                                          2020        FV         364                  887,700           201,900          29.336                  4,149,500            5,239,100             5,239,100 YEAR END ROLL                  12/05/2019
TWO HARRISON ST                                                                                                                                                                                                                                                                                          GIS Coord 2
                                                                                       2019        FV         364                   887,700           201,900         29.336                  4,149,500            5,239,100             5,239,100 CPRO BILLING                    12/04/2018
SAN FRANCISCO, CA 94105-0000                                                           2018        FV         364                 5,109,400           201,900         29.336                  3,953,500            9,264,800             9,264,800 CPRO billing                    12/04/2017              Insp Date
                                                                                       2017        FV         364                 5,109,400           201,900         29.336                  3,953,500            9,264,800             9,264,800 YEAR END                        11/28/2016             12/12/2012
                                                                                       2016        FV         364                 5,109,400           201,900         29.336                  3,953,500            9,264,800             9,264,800                                 11/17/2015         Print Date / Time
                                                                                       2015        FV         364                 4,753,900           238,600         29.336                  3,757,500            8,750,000             8,750,000                               11/19/2014        8/29/2024      10:08 am
                                                                                                                                                                                                                                                                                                      Last Date / Time
                                                                                     SALES INFORMATION
NARRATIVE DESCRIPTION                                                                                                                                                                                                                                                                                 2/5/21 4:28 pm
This parcel contains 29 AC of land mainly classified as TAX TIT                      Grantor                                        Legal Ref                Type             Date                Sale Price TSF          Verif.        NAL Notes
                                                                                                                                                                                                                                                                                                            apro
IMP with a THEATER building built about 1997, having primarily                       WESTBOROUGH SPE LLC                            66983-53                            01/21/2022                          0 No                          E
                                                                                                                                                                                                                                                                                                    USER DEFINED
BRICK VENR Exterior and 47,872 Square Feet, with 1                                   CAREY LESLIE S., TRUSTEE                       19369-75                            11/21/1997                9,151,449 No                            C
                                                                                                                                                                                                                                                                                                      Pasco Nbhd
Commercial Unit, 6 Half Baths.                                                       LANE                                           16210-372                           04/15/1994                   375,000 No                           I                                                              32/2B
                                                                                                                                                                                                                                                                                                       Prior Nbhd
OTHER ASSESSMENTS                                                                                                                                                                                                                                                                                        LOT 1
   Code       Desc                              Amt              Comm Int Amt                                                                                                                                                                                                                           GIS CA
     IE       PENALTY                                 250.00
                                                                                     BUILDING PERMITS                                                                                                                                  ACTIVITIES                                PriorID1b
     IE       PENALTY                                 250.00
                                                                                         Date    Number                        Desc                  Amount   Closed             Status       Type        Notes             Last Visit     Date       Result By
     IE       PENALTY                                 250.00
                                                                                      11/27/2017 CG-2017-00177              DEMOLITION                    0 02/08/2018             C          COM                                       12/12/2012
                                                                                                                                                                                                          DEMOLISH SIGN LETTERS, CINEMA GOING           2
                                                                                                                                                                                                                                               OUT OF BUSINESSJON  STEINBER
                                                                                                                                                                                                                                                               IN TOWN          Comm.Distr.
PROPERTY FACTORS
                                                                                      11/07/2017 CG-2017-00168              DEMOLITION                    0 02/08/2018             C          COM         REMOVAL OF ALL TRADE FIXTURES INCLUDING SEATING, SCREENS AND PROJECTORS.
        Item Code                          Item            Code            %
                                                                                      03/21/2013         134-2013                MANUAL              119,800                         C                    REPAIR 2 EGRESSES                                                      Apt.Units
       Util 1                             Dis 1 D
       Util 2                             Dis 2                                       10/21/2003         470/2003                 SIGN                10,000 05/13/2004              C                                              02/13/2004
                                                                                                                                                                                                                                                                                                          Web Image
                                                                                                                                                                                                                                                                                                                               A (Property Cards) Page 14 of 15




       Util 3                             Dis 3                                       07/21/1995         314/95                  MANUAL            2,880,000 05/17/2000              C                    CINEMA
   Census                                Zone 1 BA                         100
                                                                                                                                                                                                                                                                                                           PriorID2c
  F. Haz                                 Zone 2
       Topo                              Zone 3                                                                                                                                                                                                                                                            PriorID3c
      Street                                 HX                                                                                                                                                                                                                                                                L1
     Traffic                                                                                                                                                                                                                                                                                             GIS Condo Pin
   Exempt
                                                                                                                                                                                                                                                                                                                       Doc 323-1 Filed 09/11/24 Entered 09/11/24 07:59:35




LAND SECTION (937)
 LUC LUC Desc    Alt %             Ft.                 # Units     Depth          U. Type       L. Type      Ft.    Base V. Unit Prc              Adj Prc   NBC         Ft.      Mod.     Inf 1    %      Inf 2 % Inf 3 %                  Appr Alt 2 LUC   %       Spec L.V. Juris     L. Ft.      Assessed Notes
 937 TAX TIT IMP                   1                  174,240                       SF           SITE        1             010.2                     2.45    CV         1                   R     -60       E -40                        426,500                            0             1          426,500
 937 TAX TIT IMP                   1                   25.336                       AC         EXCESS        1             030,000              11,268.55    CV         1                   S     -50                                    285,500                            0             1          285,500
                                                                                                                                                                                                                                                                                                                                                Desc Exhibit




                   Total AC/HA                          29.34              Total SF/SM              1,277,876.16                 Parcel LUC 937 - TAX TIT IMP                             P. NBC Desc COMM VG                Tot         712,000            Tot              0             Tot        712,000
Disclaimer: This Information is believed to be correct but is subject to change and is not guaranteed                                                                                                              Property: 3883 | Bld: 5425 | Seq: 1 | Year: 2024 | Data As Of Date: 08/29/2024 | User: jons | DB: Assess50
Parcel ID 32-48-0                                                                                    Comments                                                                                  Sketch
Exterior Information                          Condo Information                                       486-1997 5-97 STEEL + EXT WALL. 110-94/SEE WHITE CARD
    Type         81 - THEATER                   Location                                             FOR 32/2B, MEASURED PAVING WITH GIS TOOL - REGAL
  Stry Hght      2                              Tot Units                                            LEASE EXPIRED 11/2017 TAX BILL WAS CHANGED BACK TO
 (Liv) Units     0          Tot 1                                                                    OWNER OF TITLE ON DEED
                                                    Floor
   Found         1 - CONCRETE                                                                        FY2018 EXPENSE DATA TO BE ENTERED
                                                   % Own
   Frame         2 - STEEL                                                                           FY19 I&E RETURNED BY PO/UNABLE TO FORWARD.
                                                   Name
   P. Wall       8 - BRICK VENR
  Sec Wall       21 - CONC BLOC 50            Bath Features                                       Res Breakdown                                                  Remodeling
  Roof Str       4 - FLAT                      Full Bath          0       Rtng                          Floor          No. Unit          Rooms     Bdrms          Exterior
  Roof Cvr       4 - TAR+GRAVEL                Add Full           0       Rtng                                                                                    Interior
    Color                                      3/4 Bath           0       Rtng                                                                                     Add.
    View                                                                                                                                                          Kitchen
                                               Add. 3/4           0       Rtng
   Shape                                                                                                                                                           Bath
                                                                                                                                                                                                                                                                                                                                                      Case 23-40709




                                               1/2 Bath           6       Rtng A - AVERAGE
 Bld Name                                                                                                                                                          Plumb
                                               Add. 1/2           0       Rtng                        Bld Total                                                   Electric
General Information                            Other Fix          0       Rtng                        Prcl Total                                                  Heating
   Grade         CV - COMM V GOOD
                                                                                                                                                                  General
  Year Blt       1997      Eff Yr             Other Features                                      Calc Ladder
  Alt LUC                                       Kitchens          2       Rtng A - AVERAGE              Base Rate                  85.00                Depr                 5,154,937
   Juris                                           Add Kit.       0       Rtng                           Size Adj                 0.82507          Depr'd Total               585,527
  Con Mod                                      Fireplaces         0       Rtng                           Con Adj                  0.99960            Juris Ft.                1.0000
                                               WS Flues           0       Rtng                           Adj Prc                  $70.10          Spec. Features                   $0
Interior Information
  Avg Ht / Fl                                                                                           Grade Ft.                 1.65200           Lump Sum
                                              Depreciation
   P. Int Wall    1 - DRYWALL                  Phys Con PR - Poor                        59.2           Other Feat             $151,330             Final Total              $585,500
  Sec Int Wall                                 Functional                                               NBH Mod                   1.0000           Override Val
   Partition   T - TYPICAL                     Economic D - DEMAND                         75            NBC Infl                 1.0000            Assmnt Ft.                1.0000
    P. Floor      4 - CARPET                    Special                                                  LUC Ft.                  1.0000           Assessed Val              $585,500
   Sec Floor                                   Override                                                Adj Tot (RCN)           5,740,464            Total $/SF                $12.23           Mobile Home
  Bmt Floors                                                                      Total 89.8%            Depr %                   89.8%            Undepr $/SF               115.80520          Make                          Model                     Serial                     Year                      Color
  Sub Floors
                                              Comparable Sales                                                                     Sub Areas                                                                                                                           Alt Areas
  Bmt Garage 0
                                              Rtng            Parcel ID      Type               Sale Date           Price            Code Desc                          Net Area             Gross A.     F. Area          Sz Adj A.     Rate AV        Undepr Val     S. Area     Alt Type    % Alt     Tenants      Qual                    %U
    Electric      3 - TYPICAL
                                                                                                                                     FFL 1ST FLOOR                       47,872               47,872      47,872             47,872        70.10         3,355,827
   Insulation     2 - TYPICAL
                                                                                                                                     CNP       CANOPY                         1,050            1,050             0                 0        26.00            27,300
   Int Vs Ext     S
   Heat Fuel      2 - GAS
     Heat         1 - FORCED H/A
  # Heat Sys      1
                                                                                                                                                                                                                                                                                                                                     A (Property Cards) Page 15 of 15




   Heated %       100        AC %       100
   Sol HW %               Ctrl Vac %
  Com Wall %               Sprink %     100        Avg Rtng                                Ind Val                                                 Building Totals           48,922           48,922      47,872             47,872                      3,383,127
                                                                                                                                                    Parcel Totals            48,922           48,922      47,872             47,872                      3,383,127
Special Features / Yard Items
  Code Desc                         A Y/S     Qty                 Size              Qual        Con       Year              Unit Prc D/S         Depr %           LUC         Ft.        NBC       Ft.   Juris       Ft.               Appr Val         Assessed Image
                                                                                                                                                                                                                                                                                                                             Doc 323-1 Filed 09/11/24 Entered 09/11/24 07:59:35




   66 CANOPY                        A Y        1              50.00x12.00            G          GD        1997                26.00 T            27.43%           101         1           RV        1                1                  14,200            14,200
   85     PAVING                    D    Y     1               169020.00             G           GD         1998                  3.00     T     26.37%           101          1        RV          1                1                 466,700           466,700
   77     LITE-SIN                  D    Y     6                  1.00               G           GD         1998            1,300.00       T     26.37%           101          1        RV          1                1                    7,200             7,200
   84     SIGN-ILU                  D    Y     1                 184.00              G           GD         1998               50.00       T     26.37%           101          1        RV          1                1                    8,500             8,500
   87     FENCE-4                   D    Y     1                 390.00              G           GD         1998                  9.10     T     26.37%           101          1        RV          1                1                    3,300             3,300
   78     LITE-DBL                  D    Y     9                  1.00               G           GD         1997            1,950.00       T     27.43%           101          1        RV          1                1                  15,900             15,900
                                                                                                                                                                                                                                                                                                                                                      Desc Exhibit




                  Building Totals                                Yard Item Appr                                             515,800                        Special Feature Appr                                                        515,800           515,800
                   Parcel Totals                                 Yard Item Appr                                             515,800                        Special Feature Appr                                                        515,800           515,800
Disclaimer: This Information is believed to be correct but is subject to change and is not guaranteed                                                                                                                      Property: 3883 | Bld: 5425 | Seq: 1 | Year: 2024 | Data As Of Date: 08/29/2024 | User: jons | DB: Assess50
